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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                               IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8    ANTITRUST LITIGATION                    )
                                                                                                                       )   Case No. C-07-5944-SC
                                                                          9                                            )
                                                                                                                       )   ORDER DENYING INDIRECT
                                                                         10    This Order Relates To:                  )   PURCHASER PLAINTIFFS'
United States District Court
                               For the Northern District of California




                                                                                                                       )   ADMINISTRATIVE MOTION TO
                                                                         11      ALL INDIRECT PURCHASER ACTIONS        )   FILE UNDER SEAL
                                                                                                                       )
                                                                         12                                            )
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                                                                         14
                                                                         15        On April 15, 2014, the Indirect Purchaser Plaintiffs (the

                                                                         16   "IPPs") filed an administrative motion to file certain documents

                                                                         17   under seal, per Civil Local Rules 7-11 and 79-5(d).          ECF No. 2536

                                                                         18   ("IPP Mot.").   Rule 79-5(d) required the IPPs to move to file those

                                                                         19   documents under seal because some of the Philips Defendants

                                                                         20   designated them confidential under this case's protective order.

                                                                         21   After the IPPs filed their motion, Rule 79-5(d) gave the Philips

                                                                         22   Defendants seven days to file either (1) a declaration establishing

                                                                         23   that the designated documents are properly sealable, along with a

                                                                         24   narrowly tailored proposed sealing order; or (2) a withdrawal of

                                                                         25   the confidentiality designation.      The Philips Defendants filed

                                                                         26   nothing in response to the IPP Motion.

                                                                         27        The Court therefore DENIES the IPP Motion.         The Court STAYS

                                                                         28   this Order for seven days after its signature date to allow the
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                                                                          1   Philips Defendants extra time to submit a declaration.             If that
                                                                          2   date passes and the Philips Defendants have filed no responsive
                                                                          3   declaration, the IPPs are to file the documents in the public
                                                                          4   record per Local Rule 79-5(d).
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                                                                          7        IT IS SO ORDERED.
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                                                                          9        Dated:   April 30, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         10
                               For the Northern District of California
United States District Court




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